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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPIER 13 PLAN (Individual Ad]`ustment of Debts[

 

 

 

 

 

 

l:l Original Plan
@ lst Amended Plan (lndicate lst, an, etc. Amended, if applicable)
m Moditied Plan (Indicate lst, an, etc. Modified, if applicable)
DEBTOR: .lose L. Garcia-Valdes ]OINT DEBTOR: CASE NO.: 18-l5375-AJC
SS#: XXx-xx- 6450 SS#: xxX-XX-
I. NOTICES
To Debtors: Plans that do not comply with local rules andjudicial rulings may not be contirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed With the Clerk pursuant to
Local Rules 2002-l (C)(S), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry ofthe order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

 

m a

Avo_idance.of ajudicial lien or nonpossessory, nonpurchase-money security interest, set |:l lncluded [E NO[ included

out in Section III

Nonstandard provisions, set out in Section VIII l:| lncluded l_i_l Not included
II. PLAN PAYMENTS. LENGTH OF PLAN AND DEBTOR(SY ATTORNEY'S F`EE

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of l 0%, beginning 30 days from the filing/conversion date. ln the event the trustee does not retain the full l0%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

l. $3,464.66 for months l to 60 ;
B. DEBTOR(S]' ATTORNEY'S FEE: l:;l NONE 53 PRO BONO
Total Fees: $3500.00 Total Paid: $3500.00 Balance Due: $0.00
Payable $0.00 /month(l\/Ionths _l_ to g )

Allowed fees under LR 2016-l(B)(2) are itemized below:
$3,500.00 (Base Fee)

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: E NONE
[Retain Liens pursuant to ll U.S.C. §1325 (a)(S)] Mortgage(s)/Lien on Real or Personal Property:

 

 

1. Creditor: Seterus, lnc.

 

Addl'€SSZ PO BOX 1047 Arrearage/ Payoff on Petition Date $85,068.75
Hartford’ CT 06 i 43 Arrears Payment (Cure) 31,417.82 /month (Months _l_ lo@_ )
Last 4 Digits Of Regular Payment (Maintain) $l,700.37 /month (Months _l_ t<)__t€l )
Account No.: 8670
Other:

 

 

 

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IV.

VI.

VII.

VIII.

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Debtor(s): lose L. Garcia-Valdes Case nuinber: 18-l5375-AJC
li Real Property Check one below for Real Property:
|___i]Principal Residence E]Escrow is included in the regular payments
l___lOther Real Property EThe debtor(s) will pay Etaxes minsurance directly

Address of Collateral:
29610 SW 228 Avenue, Homestead, FL 33030

m Personal Property/Vehicle

Descriptioii of Collateral:

 

 

 

 

B. VALUATION OF COLLATERAL: ['_i:i NONE

C. LIEN AVOII)ANCE iii NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

§§ NoNE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

§§ NoNE
TREATlWENT OF FEES AND PRIORITY CLAIMS las defined in ll U.SiC. §507 and ll U.S.C. § 1322(21)(4)]
A. ADlVHNlSTRATIVE FEES OTHER THAN DEBTORS(SY ATTORNEY'S FEE: NONE
C. I)OMESTIC SUPPORT OBLIGATION(Sl: iii NONE
D. OTHER: gill NONE
TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $0.00 /month (Months 1 to£ )

Pro rata dividend will be calculated by the Trustee upon review offiled claims after bar date.
B, El lf checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLAS SIFIED: l:q:l NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

iii NoNE
iNCoMi~; TAX RETURNS AND REFUNDS: ij Noi\is

§§ Debtor(s) will not provide tax returns unless requested by any interested party pursuant to ll U.S.C. § 521.
NON-STANDARD PLAN PROVISIONS [i] NONE

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Debtor(s): lose L. Garcia-Valdcs Case number: 18-15375-AJC

 

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

l declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

/s/ lose L. Garcia-Valdes Debtor 03/92/20] g Joint Debtor
lose L. Garcia-Valdes Date Date
Attorney with permission to sign on Date

Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Cliapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out iii paragraph VIII.

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